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                                                                                             February 7, 2024
         VIA ECF

         The Honorable Leda D. Wettre, U.S.M.J.
         United States District Court
         Martin Luther King, Jr. Federal Building
         50 Walnut Street, Room 2060
         Newark, New Jersey 07102

                 Re:       Axsome Therapeutics, Inc., et al. v. Teva Pharmaceuticals, Inc.
                           Civil Action Nos. 23-1695 (MEF)(LDW) & 23-23142 (MEF)(LDW)

         Dear Judge Wettre:

                This firm, together with Quinn Emanuel Urquhart & Sullivan LLP, represents Plaintiffs
         Axsome Therapeutics, Inc. and Antecip Bioventures II LLC (together, “Plaintiffs”) in the above-
         captioned related matters.

                 Further to our January 25, 2024 Letter (see ECF No. 50 in C.A. No. 23-1695) and
         pursuant to Your Honor’s directives during the February 1, 2024 status teleconference, the
         parties have agreed, subject to the Court’s approval, to the enclosed [Proposed] Order
         Consolidating Cases For All Purposes. This [Proposed] Order is materially identical to the form
         enclosed with the parties’ January 25 Letter except for the case schedule, which proposes a close
         of fact discovery of February 7, 2025 (i.e., more than two months sooner than the April 18, 2025
         date originally proposed by the parties). If this [Proposed] Order meets with the Court’s
         approval, we respectfully request that Your Honor sign it and have it entered on the respective
         dockets.

                 Thank you for Your Honor’s kind attention to these matters.

                                                                                             Respectfully yours,



                                                                                             Charles M. Lizza

         Enclosure
         cc: All counsel of record (via email)




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                                                       A DELAWARE LIMITED LIABILITY PARTNERSHIP
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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF NEW JERSEY


AXSOME THERAPEUTICS, INC. and ANTECIP
BIOVENTURES II LLC,                                       Civil Action No. 23-01695
                                                          (MEF)(LDW)
                      Plaintiffs,                         Civil Action No. 23-23142
                                                          (MEF)(LDW)
        v.                                                (consolidated)
TEVA PHARMACEUTICALS, INC.,                               (Filed Electronically)
                             Defendant.


        [PROPOSED] ORDER CONSOLIDATING CASES FOR ALL PURPOSES

        WHEREAS, Plaintiffs Axsome Therapeutics, Inc. (“Axsome”) and Antecip Bioventures

II LLC (“Antecip” and, collectively with Axsome, “Plaintiffs”), filed Civil Action No. 23-01695

in this Judicial District against Defendant Teva Pharmaceuticals, Inc. (“Teva”) on March 24,

2023;

        WHEREAS, Plaintiffs filed the related Civil Action No. 23-23142 in this Judicial

District against Teva on December 15, 2023;

        WHEREAS, Teva hereby acknowledges its acceptance of service of the complaint in

Civil Action No. 23-23142;
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       WHEREAS, by agreement of the parties, Teva answered the complaint in Civil Action

No. 23-23142 on January 18, 2024 (see ECF No. 11 in Civil Action No. 23-23142);

       WHEREAS, Plaintiffs and Teva jointly request that Civil Action Nos. 23-01695 and 23-

23142 be consolidated;

       IT IS on this _____ day of _____________, 2024,

       ORDERED that Civil Action Nos. 23-01695 and 23-23142 (the “Consolidated Actions”)

are consolidated for all purposes, including discovery, case management, and trial, subject to

further order of the Court;

       IT IS FURTHER ORDERED that all filings in the Consolidated Actions shall use the

above caption on this Order;

       IT IS FURTHER ORDERED that all filings going forward shall be filed in Civil

Action No. 23-01695 and that Civil Action No. 23-23142 shall be administratively terminated by

the Clerk’s office;

       IT IS FURTHER ORDERED that the January 19, 2024 Letter Order setting the Initial

Conference in Civil Action No. 23-23142 (ECF No. 13) is hereby vacated; and

       IT IS FURTHER ORDERED that the Consolidated Actions shall proceed on the

following amended schedule:

                          Event                                           Deadline
Plaintiffs’ Answer to Counterclaims
                                                         February 15, 2024
(’518, ’706, ’144 Patents Only)
Plaintiffs’ Disclosure of Asserted Claims under
L. Pat. R. 3.6(b)                                        February 29, 2024
(’518, ’706, ’144 Patents Only)
Defendants’ disclosure of Non-Infringement and
Invalidity Contentions under L. Pat. R. 3.6(c)-(f)       April 11, 2024
(’518, ’706, ’144 Patents Only)
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                           Event                                         Deadline
Plaintiffs’ disclosure of Infringement Contentions and
Responses to Invalidity Contentions under
                                                         June 17, 2024
L. Pat. R. 3.6(g)-(i)
(’518, ’706, ’144 Patents Only)
Joint exchange of proposed claim terms under
L. Pat. R. 4.1                                           June 28, 2024
(All Patents)
Preliminary proposed constructions and identification
of intrinsic evidence under L. Pat. R. 4.2(a)-(b)        July 11, 2024
(All Patents)
Joint exchange of all intrinsic and extrinsic evidence
under L. Pat. R. 4.2(c)                                  July 26, 2024
(All Patents)
Joint Claim Construction and Prehearing Statement
under L. Pat. R. 4.3(a)-(e)                              August 14, 2024
(All Patents)
Close of Fact Discovery for Claim Construction
                                                         August 29, 2024
(All Patents)
Opening Claim Construction Briefs
                                                         September 20, 2024
(All Patents)
Close of Expert Discovery for Claim Construction
                                                         October 18, 2024
(All Patents)
Responsive Claim Construction Briefs
                                                         November 15, 2024
(All Patents)
Proposed schedule for Markman hearing due to Court       December 6, 2025
Close of Fact Discovery                                  February 7, 2025



                                                    SO ORDERED.

                                                    ________________________________
                                                    Hon. Leda D. Wettre, U.S.M.J.
